Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 1of11

 

 

MCHV/11.19.2021 U.S. Department of Justice

United States Attorney

District of Maryland
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November 22, 2021

Elizabeth G. Oyer, Esquire '
Assistant Federal Public Defender wr “
Office of the Federal Public Defender for the District of Maryland ( 3
100 S. Charles Street, Tower I, Suite 900 Zp _
Baltimore, Maryland 21201 “

Re: United States v. Julian Gray
Criminal No. SAG-21-0209

 

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Julian Gray (hereinafter, the “Defendant”), by
the United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by December 8, 2021, it will be deemed withdrawn. The terms of the
Agreement are as follows:

Offense of Conviction

LE. The Defendant agrees to plead guilty to Counts One and Three of the Criminal
Indictment. Count One charges the Defendant with possession with intent to distribute forty or
more grams of fentanyl, and a detectable amount of tramadol, in violation of 21 U.S.C. § 841(a)(1).
The Defendant admits that he is, in fact, guilty of the offense and will so advise the Court. Count
Three charges the Defendant with being a felon in possession of a firearm, in violation of 18 U.S.C.
§ 922(g). The Defendant admits that he is, in fact, guilty of the offenses and will so advise the
Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows:

a. Count One: That on or about the dates charged in the Indictment, in the District of
Maryland:
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 2 of 11

i. The Defendant knowingly or intentionally possessed fentanyl, and tramadol
as charged;

ii. The substance was in fact fentanyl and tramadol; and
ili. The Defendant possessed the substance with the intent to distribute it.
b. Count Three: That on or about the dates charged in the Indictment, in the District of
Maryland:
i. The Defendant knowingly possessed the firearm or ammunition;
ii. Atthe time he possessed the firearm or ammunition, the Defendant had been
previously convicted of a crime punishable by imprisonment for a term

exceeding one year, and had knowledge of that fact; and

ii. The possession of the firearm was in or affecting commerce or the firearm
or ammunition was shipped or transported in interstate or foreign

 

 

 

 

 

 

 

 

 

 

 

 

commerce.
Penalties
3. The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:
Mandauty Maximum Supervised Maximum Special
Count Statute Minimum . :
: Prison Release Fine Assessment
Prison
21 U.S.C.
1 § 841(a) 5 years 40 years 4-5 years $5,000,000 $100
18 U.S.C.
3 § 922(g) N.A. 10 years 3 years to life $250,000 $100
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

G Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 3 of 11

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

€: If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 4 of 11

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

4
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 5of11

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

a. This Office and the Defendant further agree that the applicable base
offense level for Count One is 24 pursuant to United States Sentencing Guidelines (“U.S.S.G.”)
§ 2D1.1(a)(5) and (c)(8) to account for at least 40 grams but less than 160 kilograms of fentany].

b. This Office and the Defendant further agree that the applicable base
offense level for Count Three is 20 pursuant to U.S.S.G. § 2K2.1(a)(4) because the Defendant
committed the offense subsequent to sustaining a felony conviction for a crime of violence.

C: Counts One and Three are grouped as follows:
i. Group | is Count One and Group 2 is Count Three. U.S.S.G. § 3D1.1(a)(1).

ii. The offense level applicable to Group 1 is 24 and to Group 2 is 20. The
highest offense level is 24. U.S.S.G. § 3D1.1(a)(2) and 3D1.1(a)(3).

iii. For the 2 units, there is an increase of 2 levels (for a total offense level of
26). U.S.S.G. § 3D1.1(a)(3).

d. Acceptance of Responsibility: This Office does not oppose a 2-level
reduction in the Defendant’s adjusted offense level pursuant to U.S.S.G. § 3E1.1(a), based upon
the Defendant’s apparent prompt recognition and affirmative acceptance of personal responsibility
for the Defendant’s criminal conduct. This Office agrees to make a motion pursuant to U.S.S.G.
§ 3E1.1(b) for an additional 1-level decrease in recognition of the Defendant’s timely notification
of the Defendant’s intention to enter a plea of guilty. This Office may oppose any adjustment for
acceptance of responsibility under U.S.S.G. § 3E1.1(a) and may decline to make a motion pursuant
to U.S.S.G. § 3E1.1(b), if the Defendant: (i) fails to admit each and every item in the factual
stipulation; (ii) denies involvement in the offense; (iii) gives conflicting statements about the
Defendant’s involvement in the offense; (iv) is untruthful with the Court, this Office, or the United
States Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi)
engages in any criminal conduct between the date of this Agreement and the date of sentencing;
(vii) attempts to withdraw the plea of guilty; or (viii) violates this Agreement in any way.

e. Thus, the adjusted offense level for Counts One and Three is 23.
7. Other than as set forth above, no other offense characteristics, sentencing guidelines

factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 6 of 11

Obligations of the Parties

8. The parties will recommend a sentence consistent with paragraph 9 below. This
Office and the Defendant reserve the right to bring to the Court’s attention all information with
respect to the Defendant’s background, character, and conduct that this Office or the Defendant
deem relevant to sentencing, including the conduct that is the subject of any counts of the Criminal
Information. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant.

Rule 11 (c) (1) (C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence of no more than 96 months (8 years) in the custody of the Bureau of
Prisons is the appropriate disposition of this case, taking into consideration the nature and
circumstances of the offense, the Defendant’s criminal history, and all of the other factors set forth
in 18 U.S.C. § 3553(a). This Agreement does not affect the Court’s discretion to impose any lawful
term of supervised release or fine or to set any lawful conditions of probation or supervised release.
In the event that the Court rejects this Agreement, except under the circumstances noted below,
either party may elect to declare the Agreement null and void. Should the Defendant so elect, the
Defendant will be afforded the opportunity to withdraw his plea pursuant to the provisions of
Federal Rule of Criminal Procedure 11(c)(5). The parties agree that if the Court finds that the
Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge personal
responsibility as set forth herein, neither the Court nor the Government will be bound by the
specific sentence contained in this Agreement, and the Defendant will not be able to withdraw his
plea.

Waiver of Appeal

10. _In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 7 of 11

i. The Defendant reserves the right to appeal the sentence of
imprisonment if the total term of imprisonment exceeds 96 months.

i. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

11. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

12. Specifically, but without limitation on the Government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the items that the Defendant agrees constitute money,
property, and/or assets derived from or obtained by the Defendant as a result of, or used to facilitate
the commission of, the Defendant’s illegal activities, including the following:

a. One Taurus 9mm G2C semi-automatic handgun, serial TLR73852, loaded with 12 live
9mm hollow-point bullets (6 Blazer, 4 Winchester, 2 R-P Golden Saber); and

b. $1,640 in U.S. currency.

13. | The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 1 1(b)(1)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

14. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

15. | The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 8 of 11

Defendant’s Conduct Prior to Sentencing and Breach

16. | Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

17. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)}—f the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

18. | The Defendant expressly understands that the Court is not a party to this agreement.
In the federal system, sentence is imposed by the Court, and the Court is under no obligation to
accept this plea agreement. In the event the Court rejects this Rule 11(c)(1)(C) plea agreement,
pursuant to Rule 11(c)(5)(C), the Defendant will be informed that he may withdraw his plea. If he
persists in the guilty plea thereafter, the Defendant understands that the disposition of the case may
be less favorable than that contemplated by this agreement. The Defendant understands that
neither this Office, his attorney, nor the Court can make a binding prediction or promise that the
Court will accept this agreement. The Defendant agrees that no one has made such a binding
prediction or promise.

Entire Agreement

19. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 9 of 11

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Erek L. Barron
United States Attorney

fam. ¢. Macthins

Joan C. Mathias
Assistant United States Attorney

 

Ihave read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. | am completely satisfied with the representation of my attorney.

  

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

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Date Elizabeth G. Oyer, Esquire
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 10 of 11

ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

1. In 2020, law enforcement with the Drug Enforcement Administration (DEA) began
surveilling a street shop and making undercover purchases of fentanyl. Julian Gray (the
Defendant) was identified as a potential coconspirator seen meeting with the dealers from which
an undercover officer purchased narcotics.

2. On September 15, 2020, DEA was conducting surveillance at the Defendant’s
residence. Law enforcement observed the Defendant exit his house carrying a black bag and
getting into his car to drive away. Detectives from the Baltimore Police Department (BPD) then
stopped his car for a traffic violation in the Food Depot parking lot at 2401 Belair Road, Baltimore,
MD, 21213, and had the Defendant removed from the car. A K9 unit was nearby to scan the car
and the dog alerted to the driver’s door. Law enforcement searched the car and, in the trunk they
found a black bag (different bag from the first observation) in the trunk containing:

(a) a Taurus 9mm G2C semi-automatic handgun, serial TLR73852, loaded with 12 live 9mm
hollow-point bullets (6 Blazer, 4 Winchester, 2 R-P Golden Saber); and

(b) 2 large plastic bags containing 1,090 gel caps of suspected narcotics.

3. The gel caps tested positive for a mixture of Fentanyl, 4-ANPP, and tramadol,
with a weight of over 40 grams. The Defendant agrees that he knowingly possessed the
narcotics with intent to distribute the narcotics to other persons. The Defendant’s intent to
distribute the fentanyl is also established by fact of the quantity of the fentanyl, more than 40
grams, is a distribution quantity rather than a personal use quantity.

4. The Defendant is a prohibited felon, and knew this to be the case, because at the
time of his arrest he was on active parole for a 1991 Murder 2 conviction, for which he was
sentenced 30 years and was in custody until 2013. His civil rights had not been restored.

5: The handgun and ammunition were manufactured outside the state Maryland and
therefore traveled in interstate commerce prior to their recovery in this state.

6. On the Defendant’s person, law enforcement recovered $1,640, which constituted
drug proceeds.
7. These events occurred in the District of Maryland.

10
Case 1:21-cr-00209-SAG Document17 Filed 12/01/21 Page 11of11

SO STIPULATED:

fran. C. Mathias

Joan C. Mathias
Assistant United States Attorney

 

Julian Gray
Defendant

DiAA-—_$

Elizabeth G. Oyer, Esquire
Counsel for Defendant

11
